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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.: 25-02625-MJ-SANCHEZ

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.

 DANIEL JAMES HALLORAN,

      Defendant.
 ____________________________________/

                      DEFENDANT’S INVOCATION OF
                    RIGHTS TO SILENCE AND COUNSEL

       The defendant named above does hereby invoke his rights to

 remain silent and to counsel with respect to any and all questioning or

 interrogation, regardless of the subject matter, including, but not limited

 to:   matters that may bear on or relate to arrest, searches and seizures,

 bail, pretrial release or detention, evidence at trial, guilt or innocence,

 forfeitures; or that may        be relevant to sentencing, enhanced

 punishments, factors applicable under the U.S. Sentencing Guidelines,

 restitution, immigration status or consequences resulting from arrest or

 conviction; appeals or other post-trial proceedings.

       The Defendant requests that the United States Attorney ensure

 that this invocation of rights is honored, by forwarding a copy of it to all

 law enforcement agents, government officials, or employees associated
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 with the investigation of any matters relating to the defendant. Any

 contact with the Defendant must be made through the defendant=s

 lawyer, undersigned counsel.


                              Respectfully submitted,

                              HECTOR A. DOPICO
                              INTERIM FEDERAL PUBLIC DEFENDER

                              By: /s/Jean-Pierre Gilbert
                                   Jean-Pierre Gilbert
                                   Assistant Federal Public Defender
                                   Florida Special A No.: A5502879
                                   150 W. Flagler Street, Suite 1700
                                   Miami, Florida 33130-1556
                                   Tel: (305) 533-4188
                                   E-mail: Jean-Pierre_Gilbert@fd.org




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                         CERTIFICATE OF SERVICE

       I HEREBY certify that on April 1, 2025, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also

 certify that the foregoing document is being served this day on all counsel

 of record via transmission of Notices of Electronic Filing generated by

 CM/ECF or in some other authorized manner for those counsel or parties

 who are not authorized to receive electronically Notices of Electronic

 Filing.



                              By:   /s/ Jean-Pierre Gilbert
                                       Jean-Pierre Gilbert




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